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               6

               7                         UNITED STATES DISTRICT COURT
               8                     CENTRAL DISTRICT OF CALIFORNIA
               9                                           CASE NO. 13-cv-08754-JAK-CW
                    HOMELAND HOUSEWARES,
               10
                    LLC
                                                           Hon. John A. Kronstadt
  0            11                             Plaintiff,
  0                                                        JOHN MILLS,LTD.'S NOTICE OF
                                    v.                     MOTION AND MOTION TO DISMISS;
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                                                           MEMORANDUM OF POINTS AND
a go                JOHN MILLS,LTD.                        AUTHORITIES
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                                              Defendant. Hearing Date: May 5, 2014
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                                                         Time: 8:30 a.m.
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              1         TO THE COURT,ALL PARTIES AND COUNSEL OF RECORDS:
             2          PLEASE TAKE NOTICE that on May 5, 2014, at 8:30 a.m., or as soon
             3    thereafter as the matter may be heard, in Room 750 of the United States District
             4    Court for the Central District of California, located at 255 E. Temple Street, Los
             5    Angeles, CA 90012, pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules
             6    of Civil Procedure, Defendant John Mills Ltd("JML") will and hereby does move
             7    the Court to dismiss the Complaint.
             8          The Complaint, which alleges copyright and trademark infringement and
             9    other claims based on conduct occurring entirely in the United Kingdom, should be
             10   dismissed: (a) under the doctrine offorum non conveniens;(b)for lack of subject
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             11   matter jurisdiction under the Lanham Act; and (c)for failure to state a claim for
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 ~~          12   copyright infringement or for unfair competition under Cal. Bus. &Prof. Code §
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   Q J   N   14         This motion is made following a constructive pre-filing conference of
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w?~,         15   counsel pursuant to L.R. 7-3 which tools place on March 11, 2014 between Mr.
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   m         16   Sater and Mr. Trojan (which could not occur until that date due to personal factors
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             17   relating to Mr. Sater which delayed the date ofthe attorneys' conference). Counsel
             18   were unable to reach a resolution.
             E~         This Motion is based on this Notice of Motion and Motion, the
             20   accompanying Memorandum of Points and Authorities, the Declaration of John
             21   Mills, all pleadings, records, and papers filed in this action, the argument of
             22   counsel, any supplemental memoranda that may be filed by the parties, and such
             23   further evidence as the Court may consider at or before the hearing of this Motion.
             24
                  Dated: March 11, 2014                  VENABLE LLP
             25
                                                         By: /s/ Gregory J. Sater
             26                                               Gregory J. Sater, Esq.
             27
                                                         Attorneys for Defendant JOHN
                                                         MILLS,LTD.
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              1            MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
              2         Pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil
              3   Procedure, Defendant John Mills Ltd("JML")hereby submits this Memorandum
              4   of Points and Authorities in support of its Motion to Dismiss the Complaint of
              5   Plaintiff Homeland Housewares, Inc.("Plaintiff' or "Homeland Housewares").
              6         The Complaint, which alleges copyright and trademark infringement and
              7   other claims based on conduct occurring entirely in the United Kingdom, should be
              8   dismissed: (a) under the doctrine offorum non conveniens;(b)for lack of subject
              9   matter jurisdiction under the Lanham Act; and (c)for failure to state a claim for
             10   copyright infringement or for unfair competition under Cal. Bus. &Prof. Code §

    0        11   17200 et seq. ("§ 17200").
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 W           12   I.    INTRODUCTION
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    ~m       13         This lawsuit belongs in London, not Los Angeles. It belongs in London
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             14   because the crux of Plaintiff's claim is that actions by JML -- actions that occu~Ned
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  ~ ~,       15   entirely in the United Kingdom -- supposedly constituted copyright and trademark
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             16   infringement and resulted in lost sales for Plaintiff in the United Kingdom territory.
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             17         Intellectual property laws vary from country to country of course, and the
             18   same is true for affirmative defenses like the doctrine of fair use. It is axiomatic,
             19   therefore, that a copyright or trademark case that involves conduct that occurred in
             20   the U.K. should be decided in the U.K., by a U.K. court that knows and can apply
             21   U.K. trademark and U.K. copyright law to the facts after it receives trial testimony
             22   from the pertinent witnesses -- who aye all located in the U.K.
             23         In order to try to litigate this copyright and trademark infringement case on
             24   its home turf here in Los Angeles, Plaintiff is bootstrapping its intellectual property
             25   infringement claims onto a purported breach of contract claim.
             26         It is true that the parties previously had a contractual relationship. Plaintiff
             27   supplied JML in the U.K. with aChinese-made blender called the Magic Bullet for
             28   JML to sell in the U.K. The parties agreed that JML could use the Magic Bullet's

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                 1   name and its television infomercial in the U.K. The relationship soured during the
                2    recent recession when JML did not sell as many Magic Bullets as the parties would
                 3   have lilted. According to the Complaint, that failure was a breach of contract.
                4          However,that is not where the Complaint ends. The Complaint goes on to
                 5   allege copyright and trademark infringement occurring subsequent to the end of
                6    the parties' relationship. Plaintiff claims that JML, wrongfully continued to use the
                 7   Magic Bullet infomercial and Magic Bullet name and that it wrongfully promoted
                 8   an "infringing blender" on its website wwwjmldi~ect.corn. This is critical because
                9    every witness with knowledge relating to this "infringing" conduct on the website
                10   — a website that sells only to residents ofthe U.K. and Ireland —and every witness

      0         11   who might know about the U.K. market for blenders like the Magic Bullet and thus
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  ~~            12   about any lost sales which Plaintiff allegedly suffered from the "infringement" in
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aQ¢o            13   that market, is a witness who resides not in Los Angeles but in the U.K. Moreover,
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                14   the law that will determine whether JML's conduct was infringing or was fair use
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  ~ ~,          15   will be the law ofthe land where the conduct occurred: the U.K. For these reasons
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                16   JML requests that the case be dismissed so it can be adjudicated where it belongs.
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                17   II.   FACTUAL ALLEGATIONS
                18         In addition to the breach of contract claim which alleges that JML should
                19   have sold more Magic Bullets in the U.K., Plaintiff alleges that JML committed
                20   "infringement" subsequent to the end of the parties' relationship. (Compl. ¶ 10.)
                21   Although Plaintiff attempts to "Americanize" this alleged misconduct by saying
                22   that J1VIL,'s U.K. website is "accessible from" the United States, a careful reading
                23   ofthe Complaint reveals that the "infringing" conduct occurred entirely in the U.K.
                24         The Complaint acknowledges that JML is "a company organized under the
                25   laws of the United Kingdom, having its principal place of business at JML House,
                26   Regis Road, London, NW53EG, United Kingdom" and that it is "a marketing and
                27   distribution company in England of various household products." (Compl. ¶ 2, 6.)
                28         The Complaint then acknowledges that the rights which Plaintiff originally

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               1   gave to JML for the Magic Bullet were not for the United States but were for
                   "parts of Europe." (Compl. ~ 6.) It goes on to confirm that, when Plaintiff gave
              3    JML the right to use the Magic Bullet's name and infomercial, it was not for the
              4    United States but rather for "JML's territory in parts of Europe." (Compl. ¶ 14).
              5          Notably, the Complaint never alleges —because it cannot —that JML ever
              6    overstepped the geographic boundaries ofthe parties' original agreement and ever
              7    sold even one blender, Magic Bullet or otherwise, to anyone in the United States.
              8           What the Complaint alleges, in terms of a "United States connection," is that
              9    JML's website wwwjmldi~ect.com, which sold the Magic Bullet units that JML
              10   had bought from Plaintiff, is "accessible from this Judicial District." (Compl. ¶ 9.)

     0        11          What the Complaint neglects to mention, however, is that JML's site does
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  ~~          12   not sell anything to anyone in the United States. It only sells and ships products to
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a~ao          13   residents of the U.K. and Ireland, and accepts payment only in British Pounds or
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              14   Euros. Moreover, blenders sold on the site —like the Magic Bullet, previously —
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w ~ ~,        15   are of no interest to anyone in the United States because they aye wipedfog British
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              16   electrical outlets. (Decl. ¶ 5.) Nevertheless, it is true that, like anything else on
     aN
              17   the Internet, the site is "accessible" from Los Angeles,just as it is from Timbuktu.
              18         The only other nexus claimed between the United States and JML,'s acts of
              19   "infringement" is a vague allegation that"JML has conducted business in the
             20    United States concerning its new infringing blender product line." (Compl. ~ 11.)
             21          The Complaint nowhere specifies, however, what this "infringing" blender is
             22    o~ what copyright or' trademark sights it allegedly infringes. Does it use the Magic
             23    Bullet trademark? Does it use the Magic Bullet infomercial? Notably, there is no
             24    allegation ofthis kind to be found in the Complaint —because there cannot be. No
             25    other JML blender has used the Magic Bullet name or Magic Bullet infomercial.
             26    The Complaint refers to an "infringing" blender without saying what is infringed.
             27          Nor does the Complaint explain what "business" JML supposedly has done
                   in the United States "concerning" JML's new "infringing" blender. Plaintiff does

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                 1   not allege that any sales have occurred in the United States. All Plaintiff says is
                2    that JML has "promoted"anew "infringing" blender "at trade shows in the United
                3    States" and that,"on information and belief,[JML] has offered to sell such new
                4    infringing products ... while JML representatives were physically present in the
                5    United States and using American telecommunications to promote such infringing
                6    sales, and using Internet communications such as youtube.com to facilitate JML's
                7    infringement of Homeland's trademarks and copyright." (Compl. ~ 8.)
                 8          Again, however, as noted, the Complaint never states what is "infringing"
                9    ~ about this "other blender." The Complaint does not even identify what trademarks
                10   or copyrights of Plaintiff supposedly are "infringed" by the blender. As a result,
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                11   there continues to be no nexus between the United States and any conduct by JML
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 ~~             12   that could constitute copyright or trademark infringement, even as alleged.
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ago
a ¢0            13          Finally, the Complaint alleges that JML violated Plaintiff's trademark rights
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       N        14   by putting J1VIL's name on Magic Bullet packaging during the time period when it
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w ~ ~,          15   sold the units it had bought from Plaintiff (Compl. Ex. 1 ¶ 9.1; Compl. ¶ 9.)
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  m             16   Putting aside the fact that this labeling was expressly permitted by the parties'
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                17    distribution agreement(see Compl. Ex. 1 ¶ 9.1-9.2 and Compl. ¶ 8, 9, 14), even
                18   Plaintiff cannot deny that all such conduct by JML occurred entirely in the U.K.
                19          In short, the only specific allegations made in the Complaint for trademark
                20   or copyright infringement allege infringing conduct in the U.K, either on the U.K.
                21    direct-to-consumer website wwwjmldi~ect.com or on packaging used in the U.K.
                22   III.   THE COMPLAINT SHOULD BE DISMISSED UNDER
                23          FORUM NON CONVENIENS
                24          This action concerns the distribution of Chinese-made consumer products in
                25   the United Kingdom by a British corporation, directed by British businesspersons,
                26   advertised on British television, distributed in British retail stores, and shipped on a
                27   direct-to-consumer basis to British addresses only, in return for payment in British
                28   ~ Pounds or Euros. All sales, whether of the Magic Bullet or of the new blender that

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             1   is vaguely referenced in the Complaint as being "infringing," occurred in the U.K.
            2    For this reason, the question of whether JML's conduct constituted copyright or
            3    trademark infringement will be decided by U.K. law. For that reason, and for the
            4    additional pragmatic reason that all or nearly all of the witnesses, both on liability
            5    and on damages, are residents of the U.K., the case should be adjudicated there.
            6           A.     Dismissal Standard For Forum Non Conveniens
            7           A complaint requires dismissal under the doctrine offorum non conveniens
             8   "where litigation in a foreign forum would be more convenient for the parties."
            9    Lueck v. Sundstrand Copp., 236 F.3d 1137, 1142(9th Cir. 2001)(citing GulfOil
            10   Copp. v. Gilbert, 330 U.S. 501, 504,67 S. Ct. 839, 91 (1947)). Accordingly, "[t]he

 0          11   forum non conveniens determination is committed to the sound discretion of the
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 ~~         12   trial court" and "its decision deserves substantial deference." Pipes Ai~^c~aft Co. v.
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            14   Evangelical Alliance Mission, 930 F.2d 764, 767 (9th Cir. 1991); see also
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       a    15   Mizokami Bros. ofA~izona, Inc. v. Raychem Copp., 556 F.2d 975,977(9th Cir.
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            16   1977)("Application oftheforum non conveniens doctrine affords wide discretion
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            17   to the district court.").
            18          Dismissal is appropriate where "defendants have made a clear showing of
            19   facts which establish such oppression and vexation of a defendant as to be out of
            20   proportion to plaintiff's convenience, which may be shown to be slight or
            21   nonexistent." In re Air Gash Over Taiwan Straits on May 25, 2002, 331 F. Supp.
            22   2d 1176, 1180(C.D. Cal. 2004)(quoting Cheng v. Boeing Co., 708 F.2d 1406,
            23   1410(9th Cir. 1983)).
            24          A motion to dismiss based onforum non conveniens "is not a motion to
            25   dismiss for improper venue" under Rule 12(b)(3). Am. Home Assurance Co. v.
            26   TGL Container Lines, 347 F. Supp. 2d 749, 765(N.D. Cal 2004). Rather, the
            27   doctrine is "a supervening venue provision, permitting displacement ofthe
            28   ordinary rules of venue when, in light of certain conditions, the trial court thinks


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                1    that jurisdiction ought to be declined." Sinochem Intl Co. v. Malaysia Intl
                2    Shipping Copp., 549 U.S. 422, 429, 127 S. Ct. 1184, 1190(2007)(quoting Am.
                3    ~ Dredging Co. v. Mille, 510 U.S. 443, 45, 114 S. Ct. 981,988 (1994)).
                4           Consequently, a district court should consider affidavits and documents
                5    beyond the pleadings when considering a motion underforum non conveniens. See
                6    Pipe,454 U.S. at 258-59 (considering affidavits); In ~e Air C~^ash Over Taiwan
                7    Straits, 331 F. Supp. 2d at 1184 (finding declarations to be "generally considered
                8    sufficient evidence" for elements offorum non conveniens analysis). However,
                9    such materials need only "provide enough information to enable the District Court
               10    to balance the parties' interests," as "[r]equiring extensive investigation would
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               11    ~, defeat the purpose of[such a] motion." Piper, 454 U.S. at 258.
  W            12           B.     United Kingdom Courts are a More Appropriate Forum for this
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               14           A court must dismiss an action under the doctrine offorum non conveniens
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w ~ ~,         15    I when it determines that an adequate alternative forum is available and that the
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               16    !, balance of public and private factors favors dismissal. See Lueck v. Sundstrand
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               1 /   IC Copp., 236 F.3d 1137, 1142(9th Cir. 2001)(citing Pipes Aircraft Co. v. Reyno,
               18    ', 454 U.S. 235, 254 n.22, 102 S. Ct. 252(1981)). An adequate forum generally
               19    '~ exists wherever "defendant is amenable to service of process." Id. at 1143.
               20           Her Majesty's Courts of Justice of England and Wales provide a more
               21    appropriate forum for this action. JML is an English company duly organized
               22    under the laws ofEngland with its principal place of business in England.(Decl. ¶
               23    2.) JML consents to service of process in the U.K.(Decl. ¶ 3). Indeed, JML has
               24    already been served in England in this action by an agent of Her Majesty's Courts
               25    and Tribunals acting under the Hague Service Convention. (Decl. ~ 3.) Moreover,
               26    as the historic source of American common law, the U.K. has routinely been found
               27    to be an adequate forum for actions in tort and contract. See Dibdin v. S. Tyneside
               28    NHS Healthcare Trust, No. CV 12-00206 DDP(PLAx), 2013 WL 327324, at *5


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                1   (C.D. Cal. Jan. 29, 2013)("This court is not aware of any Ninth Circuit case that
                2   has found England inadequate, but there are a number finding England adequate.
                3   See, e.g., Am. Home Assurance Co, v. TGL Container Lines, Ltd., 347 F. Supp. 2d
               4    749, 765 (N.D. Cal. 2004); Neu~alstem, Inc. v. ReNeu~on, Ltd., 365 F. App'x 770,
                5   771 (9th Cir. 2010)(unpublished).").
               6           Even in cases involving violations of United States law, the Ninth Circuit
                7   has endorsed dismissals on the grounds offorum non conveniens where the foreign
                8   forum arguably would be better able to provide an adequate remedy, in judgment
               9    enforcement, due to a defendant residing there. See Creative Tech., Ltd. v. Aztech
               10   System Pte., Ltd., 61 F.3d 696, 702(9th Cir. 1995)(holding, under adequacy of

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       0       11   forum analysis, that a court in the home nation of the defendant was more able to
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  ~~           12   enforce an injunction under the U.S. Copyright Act); Lockman,930 F.2d at 768-69.
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  QQ ~         13          C.     The "Private Factors" Require Dismissal.
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0.1'   ¢ J N   14          A court must dismiss a Complaint on grounds offorum non conveniens
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           a   15   when the "balance of conveniences suggests that trial in the chosen forum would
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               16   be unnecessarily burdensome for the defendant or the court." Lueck, 236 F.3d at
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               17   1145 (quoting Lockman,930 F.2d at 767). Courts should consider both "private"
               18   and "public" factors when making such a determination. See id.
               19          There are seven "private" factors. They are as follows: "(1)the residence
               20   of the parties and the witnesses;(2)the forum's convenience to the litigants;(3)
               21   ~ access to physical evidence and other sources of proof;(4) whether unwilling
               22   witnesses can be compelled to testify;(5)the cost of bringing witnesses to trial;(6)
               23   the enforceability of the judgment; and (7) all other practical problems that make
               24   iI, trial of a case easy, expeditious, and inexpensive." Lueck, 236 F.3d at 1145.
               25          Plaintiff is the only party located in the United States, and none of Plaintiff's
               26   ', handful of U.S.-based witnesses will be able to provide any material information
               27   regarding the nature, extent, and consumer- or market- impact ofthe "infringing"



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                       conduct of JML, because all ofthat conduct occurred in the U.K. at the hands of
                       people working for JML in the U.K., impacting consumers and sales in the U.K.
                  3          Because all ofthe lcey witnesses and documents are located in Europe and
                       any lost sales or other market damage caused by JML's purported "infringement"
                  5    occurred there, the "private" factors favor dismissal. See Dibdin v. S. Tyneside
                  6    NHS Healthcare Trust, No. CV 12-00206 DDP (PLAx),2013 WL 327324, at *5
                  7    (C.D. Cal. Jan. 29, 2013)("Generally, the private factors will weigh in favor of a
                  8    foreign forum when essentially all the events giving rise to a suit occur there.").
                  9                 1.     All Witnesses and Evidence are Located in Europe.
                  10          With the sole exception of a handful of witnesses who work for Plaintiff and

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                  11   who can be expected to testify at trial about the ownership and commercial success
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 ~~               12   of Plaintiff's Magic Bullet trademark and television infomercial, all the witnesses
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aN~o              13   and all the relevant documents in this case are in the U.K. This is critical because
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              N   14   the role of a court on a motion to dismiss forforum non conveniens is to consider
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w F ~,            15   the "materiality and importance ofthe anticipated evidence and witnesses'
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                  16   testimony and then determine their accessibility and convenience to the forum."
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                  17   Lueck v. Sundstrand Copp., 236 F.3d 1137, 1146 (9th Cir. 2001)(citing Gates v.
                  18   Learjet CoNp. v. Jensen, 743 F.2d 1325, 1335-36 (9th Cir. 1984). Here, the
                  19   information that is material to Plaintiff's infringement claims will come not from
                  20   Plaintiff, but from JML and others who know the ins and outs of the U.K. market
                  21   for blenders and what, if any, impact the "infringing" activities of JML had there.
                  22          JML only sold the Magic Bullet "within a limited territory in Europe."
                  23   (Compl. ¶ 6). It never sold it, or any other blender, to anyone in the United States.
                  24   (Decl. ¶ 6.) Because any "infringement" of Plaintiff's intellectual property rights
                  25   therefore would have occurred in Europe by definition, then any percipient witness
                  26   to the nature and scope of that infringement, and any percipient or expert witness
                  27   who would know of any consumer confusion or of any financial harm to Plaintiff
                  28   in the territory caused by said infringement, would be a witness located in Europe.

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            1         Everyone involved in the performance or alleged breach ofthe distribution
           2    agreement with Plaintiff is located in the U.K., and the same is true of everyone
           3    involved in the alleged copyright and trademark infringement of JML that followed
           4    the alleged breach. (Decl. ¶ 13-15, 17-18.) Dozens of JML employees and others ~,
           5    located in the U.K. have percipient knowledge of JML's marketing and sale in the
           6    U.K. of the Magic Bullet product, or knowledge of JML's marketing and sale in
           7    the U.K. of the other "infringing" blender that is vaguely referenced in Plaintiff's
           8    Complaint, or knowledge of the U.K. intellectual property rights that exist, or do
           9    not exist, for those blenders, or knowledge of the reasons why JML did not commit
           10   copyright or trademark infringement according to U.K. law when it used the Magic

  a        11   Bullet name and the Magic Bullet infomercial to promote and sell the Magic Bullet
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   W       12   units that had been sold to it by Plaintiff (Decl. ¶ 13-31). Facts surrounding the
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a Q~- ~a   13   modification and display of Plaintiff's intellectual property are best sought from
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           14   the U.K. residents who received these materials from Plaintiff and oversaw the
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  ~ ~,     15   distribution of the product in the U.K. with the permission of Plaintiff (Decl. ¶ 15,
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           16   19-22, 25-26, 31.) Similarly, as the heart of this case is alleged infringement in
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           17   Europe, the witnesses with the most pertinent knowledge of the European sales of
           18   the product —the central factual issue —all will be necessarily found in Europe.
           19   (Decl. '(J 16, 23-24, 27-31.) Some of these people now are no longer employed by
           20   JML and, thus, would require compulsion to testify. (Decl. ¶ 18, 22, 29, 30, 40).
           21         Also in Europe and outside of JML's control are individuals with knowledge
           22   of the European market demand for this kind of product, including the company
           23   which preceded JML in trying to sell Plaintiff's Magic Bullet blender in Europe
           24   (Decl. ~ 38-40), the company which now has succeeded JML in trying to sell the
           25   Magic Bullet in Europe (Decl. ¶ 33-34), and other companies which have sold or
           26   tried to sell other similar blenders in Europe. (Decl. ¶ 35-37.) These individuals,
           27   and probably others from several other European companies, will be needed at the
           28   time trial to testify for JML as to damages issues such as Plaintiff's lost sales and

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           1   damages, if any. These people are outside the United States and JML will have no
          2    means of compelling them to come to trial in the U.S. to testify in defense of JML.
          3           Documents pertaining to Plaintiff's claims will be found at the offices of
          4    JML in London and at the offices of many nonparties there and throughout Europe.
          5    Records of communication surrounding the parties' agreement are in London
          G    (Decl. ¶ 9)and records concerning the distribution, advertising, and marketing of
          7    the Magic Bullet and of the allegedly "infringing" items are at the offices of JML
           8   and of non-party companies doing business with JML in the U.K. such as retailers.
          9    (Decl. ¶ 9.)
          10                  2.    The U.K. Forum is More Convenient for the Litigants.

  0       11          The United Kingdom would be a more convenient forum for JML and would
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  ~~      12   not be a grossly inconvenient forum for Plaintiff. JML is a British retailer. (Decl.
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aQQo      13   ¶ 2.) JML will be forced to present many officers and employees for the purposes
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          14   ', of discovery, and at trial. Doing so in Los Angeles would be terribly inconvenient
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w ~ ~,    15   Ii~ and could shut JML's business down for a material period of time, causing great
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  m       16   'I~ harm to JML. Conversely, only two or three people from Plaintiff ever interacted
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          17   '~ with JML. (Decl. ¶ 10). Some of these interactions occurred in Europe, where
          18   'I, Plaintiff's representatives travel for trade shows and for other reasons. Plaintiff is
          19   a very financially successful company, with sales all over the world and, in this
          20   i~' case, with Magic Bullet sales in the U.K. via a distributor that preceded JML,then
          21   ~', sales via JML, and now more recently sales with another distributor that succeeded
          22   '~ JML. There is no reason why Plaintiff's representatives could not attend a trial in
          23   I, London, particularly in a case that arises out of business activities that were in the
          24   U.K. market and that damaged, if at all, sales within that territory. (Decl. ~( 10.)
          25                  3.    Testimony from U.K. Witnesses Are Best Obtained by a U.K.
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          27          Because all of the witnesses and conduct at issue are located in the United
          28   Kingdom and Europe, if the case is litigated in Los Angeles the parties will be

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             1       forced to rely on letters rogatory pursuant to the Hague Convention on the Taking
            2    I~' of Evidence Abroad to establish the facts and to conduct discovery. This process is
            3    I known to be "notoriously inefficient" and has been described as "a difficult and
            4    'I, time-consuming—if not altogether futile—endeavor" which, even if it could lead
            5        to a very limited number of percipient witness depositions, would not allow either
            6        party "to compel live testimony at trial." In ~e Air Cash at Madrid, Spain, on
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            7 'Aug. 20, 2008, 893 F. Supp. 2d 1020, 1032(C.D. Cal. 2011), amended by No.

            8        2:10-m1-02135 GAF(RZx), 2011 WL 2183972(C.D. Cal. May 16, 2011).
                           This would be extremely damaging and prejudicial to JML at trial, if not
                     outcome-determinative to the detriment of JML, because all of the critical defense

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                     witnesses are located in Europe with jobs and families requiring their presence in
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  H                  Europe, and some ofthem are not even employed by JML and therefore cannot be
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 Qao        13       compelled to come to trial to testify either with regard to the breach of contract
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  a J N     14       claim or the copyright and trademark infringement claims. (Decl. ¶ 33-43.) While
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w ~ N       15       the Hague Convention provides a mechanism, however disfavored, for obtaining
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            16       depositions in foreign countries, it does not allow a party such as JML to compel a
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            17       nonparty to testify at trial. See In re Air Gash at Madrid, 893 F. Supp. 2d at 1032.
            18             Holding a trial at a location "where litigants cannot compel personal
            19       attendance and may be forced to try their cases on deposition, is to create a
            20       condition not satisfactory to court,jury or most litigants." Id. (quoting GulfOil
            21       Co~^p. v. GilbeNt, 330 U.S. 501, 511, 67 S. Ct. 839, 844 (1947)). Plaintiff would
            22       suffer comparatively little harm from having the case tried in London, while for the
            23       reasons noted, JML likely would suffer an outcome-determinative loss of evidence.
            24                    4.     The U.K. Will Be Better Positioned to Enforce An~~ment.
            25             The Complaint seeks injunctive relief concerning a British corporation's
            26       U.K. sales of goods imported into the U.K. from China. (Compl. ¶ 25, 34, 40, 44.)
            27       The Ninth Circuit has held that, in such cases, litigation in a foreign forum is more
            28       appropriate. See Creative Tech., Ltd. v. Aztech Sys. Pte., Ltd., 61 F.3d 696, 702

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              1   (9th Cir. 1995)("Indeed, we are unable to conceive of a more effective means of
             2    protecting [Plaintiff's] United States copyright interests than by shutting off the
             3    pipeline of infringing goods at the source."). As JML sells blenders only to its
             4    British and Irish market, the U.K. would be better positioned than the United States
             5    to enforce a judgment against a company operating within the borders of the U.K.
             6                 5.     This Court Has The Power To Grant This Motion To Dismiss
             7                        Despite The Forum Selection Clause In The Magic Bullet
             8                        Contract.
             9          At one time, these parties had an operative distribution agreement in place
             10   relating to the Magic Bullet. In that now-terminated agreement, there was a venue

  0          11   clause which provided for Los Angeles as the forum for disputes that arose out of
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  ~W h       12   the contract. As a matter of law, however, this Court nevertheless has the complete
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  Q¢ o       13   authority and judicial power to dismiss Plaintiff's action on the grounds offorum
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             14   non conveniens; and this Court should do so for the reasons set forth in this brief.
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    a        15         More specifically, this Court has the power to dismiss Plaintiff's action
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             16   because, under prevailing law,"the presence of a forum selection provision in a
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             17   contract—even a mandatory one—is `simply one ofthe factors that should be
             18   considered and balanced' in the ordinaryforum non conveniens analysis." Am.
             19   Home Assurance Co. v. TGL Container Lines, Ltd., 347 F. Supp. 2d 749, 768
             20   (N.D. Cal. 2004)(citing Royal Bed &Spying Co. v. Famossul Indust~ia e
             21   Come~cio de Moveis Ltda., 906 F.2d 45, 51 (1st Cir. 1990)). "[E]ven a mandatory
             22   forum selection clause does not necessarily give rise to a conclusive presumption
             23   that this court is a convenient forum for litigating plaintiffs' claims." Id.
             24         The presence of the Los Angeles venue clause in the parties' now-terminated
             25   contract is only one factor in the analysis, in other words, and it is a factor that is to
             26   be balanced against the tremendous inconvenience to JML and to the witnesses
             27   whose testimony would be needed by JML at trial, not to mention the burden on
             28   this Court and on the citizens of this Judicial District who would sit on the jury in

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                  1   this case to hear about allegedly "infringing" conduct that occurred in the U.K. and
                 2    that allegedly caused harm to Plaintiff's Magic Bullet blender sales within the U.K.
                  3         Even just considering the breach of contract claim, it is clear that litigating
                 4    the claim in Los Angeles would pose a potentially outcome-determinative burden
                  5   on JML, due to the company having to bring so many of its employees to the U.S.
                 6    for the trial, not to mention being unable to compel the non-employee witnesses to
                 7    come, while litigating it in London would pose a far smaller burden on Plaintiff.
                      But there also are serious copyright and trademark infringement claims, based on
                 9    conduct which JML allegedly committed in the U.K. after the alleged termination
                 10   of the parties' business relationship on the Magic Bullet. If one believes Plaintiff,

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                 11   then JML committed such infringement on JML's U.K.-only direct-to-consumer
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a Q ~o           13   packaging for the Magic Bullet, and then subsequently committed even further
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                 14   "infringement" with a new blender that Plaintiff vaguely alleges to be "infringing."
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w F ~,           15   These intellectual property infringement claims and the defenses that apply to them
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                 16   such as fair use are even more complicated than the contract claim and will require
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                 17   many witnesses and documents, all of which are in the U.K.; these claims do not
                 18   arise from the parties' terminated Magic Bullet contract but, as Plaintiff concedes,
                 19   they all arise "after termination ofthe Distribution Agreement"(emphasis added).
                 20   (Compl. ¶ 10.) All the witnesses, and the law that applies, will be U.K.-located.
                 21         D.     The Public Factors Require Dismissal
                 22         The public interest factors to be considered include (1)local interest in the
                 23   lawsuit,(2)the court's familiarity with governing law,(3)the burden on local
                 24   courts and juries,(4)the congestion ofthe Court, and (5)the costs of resolving a
                 25   dispute unrelated to this forum. See Lueck v. Sundstrand Corp., 236 F.3d 1137,
                 26   1147(9th Cir. 2001)(citing Pipe~Ai~c~aft v. Reyno, 454 U.S. 235, 259-61 (1981)).
                 27                1.    The Citizens. Courts, and Juries of California have Minimal
                 28                      Interest in this Action.

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                1          Where a state has no articulable connection to an action beyond simply the
                2   fact of the plaintiff's residency in the state, the court should give strong weight to
                3   the foreign forum's interests. See Dibdin v. S. Tyneside NHS Healthcare Trust,
                4   No. CV 12-00206 DDP (PLAx), 2013 WL 327324, at *5 (C.D. Cal. Jan. 29, 2013)
                5   (finding the Plaintiff's California residency unavailing where "England has a very
                6   strong interest in this case...[because] the events giving rise to Plaintiff's claims
                7   occurred there.").
                8          While the people of California have a natural interest in the enforcement of
                9   their laws they have no interest in the application of foreign law to foreign conduct.
           10       Litigating this case in America may deprive the British defendant of defenses and

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  0        11       of remedies arising under the British law that governs the British conduct at issue.
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  ~^       12       The people of the United Kingdom have a significant interest in the application of
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a ~<o      13       British intellectual property law to British commerce, and tihat is an interest which
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           14       far outweighs California's. Further, litigating this complex case in California will
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           16       to whatever convenience the Plaintiff may derive. See Lueck, 236 F.3d at 1147
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           17       ("Because the local interest in this lawsuit is comparatively low, the citizens of
                    [this State] should not be forced to bear the burden ofthis dispute.").
           19                    2.      A British Court Would Be More Familiar with British Law.
           20              Because this case concerns the British sales of British products via British
           21       marketing channels, the United Kingdom has the strongest interest in this case and,
           22       at least as to the copyright and trademark infringement claims, U.K. law will apply.
           23       See Hasp v. Ai~blue Ltd., 879 F. Supp. 2d 1069, 1078 (C.D. Cal. 2012)(citing Dole
           24       Food Co., Inc. v. Watts, 303 F.3d 1104, 1119(9th Cir. 2002))(applying
           25       California's "governmental interest" test); Dibdin, 2013 WL 327324, at *6("Since
           26       England's interests are greater than California's, English law is likely govern many
           27       of Plaintiffs claims."). Courts in the United Kingdom are necessarily better versed
           ~r       in British intellectual property laws than courts in the United States. See generally,

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              1   The Rt. Hon. Sir Robin Jacob et al., Ke~ly's Law of Trade Masks and Trade Names
             2    (2005)(containing 120 years of commentary on British intellectual property law).
             3                 3.     The Courts ofthe United Kingdom are Less Congested than the
             4                        Central District of California.
             5          The Courts of the United Kingdom are better positioned than the Central
             6    District of California to expeditiously resolve this case. See Dibdin, 2013 WL
             7    327324, at *7("This case turns on events...that occurred in England. That forum
             8    should bear the burden and costs of Plaintiff's suit.").
             9          The Central District of California is the fourth-busiest District on the nation,
             10   with 13,242 cases pending as of 2013. See Admin. Office ofthe U.S. Courts,
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             11   Federal Court Management Statistics (Sept. 2013). Each judgeship is currently
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  ~~         12   responsible for an average of 473 pending cases. See id. By contrast,"England's
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a ;Qo        13   courts are simply not that crowded, and the kind of transnational litigations that
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                  does tend to flow to England is highly desirable stuff" David Robertson, Forum
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             16   Q. Rev. 398, 417(1987).
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             17   IV.   THE LANHAM ACT AND ~ 17200 CLAIMS MUST BE DISMISSED
             18         FOR LACK OF SUBJECT MATTER JURISDICTION
             19         If this Court were to decide not to dismiss the case on the grounds offorum
             20   non conveniens, then this Court nonetheless would lack subject matter jurisdiction
             21   over Plaintiff's Lanham Act claims because JML never sold the Magic Bullet nor
             22   any other "infringing" blender in the United States. It is axiomatic that a U.S.
             23   court cannot exercise subject matter jurisdiction over a Lanham Act claim where
             24   the conduct at issue occurred outside the United States and did not implicate U.S.
             25   commerce in a material way. In addition, this Court must dismiss the § 17200
             26   claim because the commerce at issue occurred beyond the borders of California.
             27         A.     Dismissal Standard For Lack of Subject Matter Jurisdiction
             28         A court must dismiss a claim under Rule 12(b)(1) when it does not have

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           1       jurisdiction over the subject matter ofthe claim. Fed. R. Civ. P. 12(b)(1). Federal
          2        courts are "presumed to lack jurisdiction in a particular case unless the contrary
          3        affirmatively appears." Stock West, Inc. v. Confederated Vibes ofthe Colville
          4        Res., 873 F.2d 1221, 1225 (9th Cir. 1989). Accordingly,"the plaintiff bears the
          5        burden of establishing the jurisdiction it asks the court to invoke." Gibson Brands
          6        Inc. v. Viacom Intl, Inc., No. CV 12-10870 DDP(AJWx),2013 WL 5940826, at
          7        * 1 (C.D. Cal. Nov. 5, 2013); see also Kokkonen v. Guardian Life Ins. Co. ofAm.,
          8        511 U.S. 375, 377, 114 S. Ct. 1673, 1675 (1994). A party may challenge subject
          9        matter jurisdiction both facially and factually. See Pinkbe~~y, Inc. v. JEC Intl
          10       Copp., No. CV 11-6540 PSG(PJWx), 2011 WL 6101828, at *2(C.D. Cal. Dec. 7,
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          11       2011)(citing Safe Airfor Everyone v. MeyeN, 373 F.3d 1035, 1039 (9th Cir.
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 ~~       12       2004)). A court may consider extrinsic evidence when considering a motion under
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a ao      13       Rule 12(b)(1). See White v. Lee, 227 F.3d 1214, 1242(9th Cir. 2000).
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       N 14              B.     The Lanham Act Claims Must Be Dismissed Because the Alleged
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w ~ ~, 15                       Infringement Occurred Outside the U.S. and Did Not Sufficiently
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          16                    Implicate U.S. Commerce.
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          17              This Court cannot exercise subject matter jurisdiction over a Lanham Act
          18   '; claim where the alleged infringement occurred outside the United States and did
          19       not sufficiently implicate U.S. commerce. See Stagy-Kist Foods, Inc. v. P.J. Rhodes
          20       & Co., 769 F.2d 1393, 1395 (9th Cir. 1985). The Ninth Circuit holds that "[fJor
          21       the Lanham Act to apply extraterritorially:(1)the alleged violations must create
          22       some effect on American foreign commerce;(2)the effect must be sufficiently
          23       great to present a cognizable injury to the plaintiffs under the Lanham Act; and (3)
          24       the interests of and links to American foreign commerce must be sufficiently
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          25       strong in relation to those of other nations to justify an assertion of extraterritorial
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          26       authority." Love v. Associated Newspaper's, Ltd., 611 F.3d 601, 612-13 (9th Cir.
          27       2010)(citing Stagy-Kist Foods, 769 F.2d at 1395).
          28             Plaintiff has failed to plead facts sufficient to meet any ofthe three necessary

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             1   factors to extend the Lanham Act to extraterritorial conduct. In order for the first
            2    two criteria to be met Plaintiff must demonstrate some directly connected monetary
            3    harm in the United States. See Love,611 F.3d at 613 (finding allegations of lost
            4    ticket sales in the United States "too great of a stretch" when infringing material
            5    had been distributed solely in the United Kingdom). Here, the purported violations
             C   of Plaintiff's trademarks are all alleged to have occurred in Europe. (Compl. ~ 6.)
            7    JML has never shipped a Magic Bullet to the United States (Decl. ¶ 6). Indeed,
            8    such a shipment would prove useless given the incompatibility between British
            9    appliances and American electrical circuits. (Decl. ~ 7.) Whatever harm occurred
            10   from the "infringement" had to have occurred, if at all, in the U.K. sales territory.
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            11   In addition, this is not a counterfeiting case. JML's Magic Bullets were genuine:
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 ~~         12   JML bought them all from Plaintiff (Decl. ¶ 1 l.) Finally, if there is an argument
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a~ao        13   made by Plaintiff that its "goodwill" in the U.S. somehow was damaged by JML's
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       ° 14      conduct in the U.K., the response is that it has been held that "`goodwill' related
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w F ~,      15   harm is too tenuous to support a cognizable Lanham Act claim when all infringing
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            16   conduct is abroad." T~ade~ Joe's Co. v. Hallatt, No. C13-768 MJP,2013 WL
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            17   5492515, at *4(W.D. Wash. Oct. 2, 2013)(citing Love, 611 F.3d at 613).
            18         The third factor considers whether American interests in the case rise to a
            19   high enough level to justify exertion ofjudicial authority into foreign commerce.
            20   See Stagy-Kist, 769 F.2d at 1395. This case about a blender sold by thirty-minute
            21   television infomercials really does not warrant the intrusion of an American court
            22   into British intellectual property or commercial affairs. Each of the U.S. interest
            23   factors demonstrates the quintessentially foreign nature of this controversy.l
            24
                 1 The factors to be considered are: "(1)the degree of conflict with foreign law or
            25   policy,(2)the nationality or allegiance ofthe parties and the locations or principal
                 places of business of corporations,(3)the extent to which enforcement by either
            26   state can be expected to achieve compHance,(4)the relative significance of effects
                 on the United States as compared with those elsewhere,(5)the extent to which
            27   there is an explicit purpose to harm or affect American commerce,(6)the
                 foreseeability of such effect, and (7)the relative importance to the violations
            28                                                                             (continued...)

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                 1                 1.    Any Ruling on the Lanham Act Claims Could Conflict with
                2                        U.K. Trademark Law.
                3          A Court should decline to extend jurisdiction into extraterritorial affairs
                4    where it would potentially conflict with foreign intellectual property law. See Sta~-
                5    Kist, 769 F.2d at 1396; Gibson Bands Inc. v. Viacom Intl, Inc., No. CV 12-10870
                6    DDP(AJWx), 2013 WL 5940826, at *4(C.D. Cal. Nov. 5, 2013). ("[A]n order by
                7    this court concerning use ofthe same designs in the UK creates a risk of conflict
                8    with further UK trademark proceedings on the designs."). The use, including fair
                9    use, of Plaintiff's trademarks on U.K. soil is governed by U.K. trademark law.
                10   Any ruling on the merits of Plaintiff's trademarks could conflict with U.K. law.
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    0           11                 2.    JML is a United Kingdom Corporation and Sold the Product
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   ~~           12                       Exclusively in Europe.
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   Quo          13          JML's wholly foreign nationality removes it from the extraterritorial scope
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            N   14   ofthe Lanham Act. While courts in the Ninth Circuit occasionally have extended
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        a       15   Lanham Act claims to foreign commerce, they have done so when the infringing
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                16   conduct has been directed by an American resident or citizen. See Reebok Intl Ltd.
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                17   v. Ma~natech Enterprises, Inc., 970 F.2d 552, 554(9th Cir. 1992)(finding
                18   extraterritorial jurisdiction appropriate where American resident directed Mexican
                19   sales with knowledge that infringing products frequently crossed the border into
                20   the United States). Conversely, where the defendant has been a foreigner who
                21   "does not appear to have meaningful relevant operations in the United
                22   States...[t]his factor weighs against exercising extraterritorial jurisdiction."
                23   Gibson, 2013 WL 5940826, at *5.
                24          Similarly, the third factor, dealing with compliance with a court order,"has
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                26   (continued)

                27   charged of conduct within the United States as compared with conduct abroad."
                     Stagy-Kist, 769 F.2d at 1395.
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                  1   generally been analyzed...as how strong a foreign defendant's presence is in the
                 2    United States." T~ade~ Joe's, 2013 WL 5492515, at *6. JML is a U.K. company
                  3   that has never shipped the Magic Bullet product to any United States address.
                 4    (Decl. ¶ 2, 6.) JML has derived no revenue from any U.S. sales of the Magic
                  5   Bullet and JML has never marketed the Magic Bullet product in the United States.
                 6    (Decl. ¶ 6.) These factors militate against the exercise ofjurisdiction in this case.
                  7          Similarly, the fourth factor favors dismissal where the products in question
                  8   do not enter the United States. Where the commerce is abroad,"the effect on the
                 9    United States is relatively insignificant as compared with the effect on foreign
                 10   countries." Pinkbe~~y, Inc. v. JECInt'l Copp., No. CV 11-6540 PSG(PJWx), 2011

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    0            11    WL 6101828, at *6(C.D. Cal. Dec. 7, 2011)(citing Stagy-Kist, 769 F.2d at 1396);
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 ~~              12   see also Gibson, 2013 WL 5940826, at *5 (declining to exercise jurisdiction where
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a~¢o             13    United Kingdom company sold products in the United Kingdom and other
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                 14    countries,"with none sold in the United States."). As noted above, JML has not
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         a       15    accepted a single order to a United States address. (Decl. ¶ 6.).
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                 16                 3.    JML Had No Intention or Foresight of Harm to U.S.
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                 17                       Commerce.
                 18          JML has never had any, and Plaintiff cannot demonstrate any, intent to harm
                 19    any U.S. commerce. JML is in the business of selling household products to
                 20 'people in the U.K. sales territory where JML is located. (Decl. ¶ 2.) Five years

                 21   ~ ago JML entered into a short term distribution agreement with Plaintiff to import
                 22   I, the Magic Bullet from China and market it in the U.K. (Compl. ¶ 6.) JML for a
                 23    period oftime purchased this one product from Plaintiff (Compl. ¶ 7; Decl. ¶ 11.)
                 24    As a bona fide reseller ofthis product in the U.K., hopefully for a profit to JML,
                 25   JML obviously sought to increase sales of the Magic Bullet, not decrease sales, let
                 26    alone affect in any way sales on the other side of the Atlantic Ocean in the U.S.
                 27           Accordingly, the remaining factors favor dismissal of the Lanham Act
                 28   ~ claims.

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                  1          C.     The ~ 17200 Claim Must Be Dismissed for Lack of Subject Matter
                 2                  Jurisdiction.
                 3           Because the Lanham Act claims must be dismissed for lack of subject matter
                 4    jurisdiction, the §17200 claims must be too. "When a federal claim is dismissed
                 5    ', for lack of subject matter jurisdiction, a court has no discretion to retain
                 6    I~' supplemental jurisdiction over state law claims." Pinkbe~~y, 2011 WL 6101828, at
                 7    *8 (citing Scott v. Pasadena Unified School Dist., 306 F.3d 646, 664(9th Cir.
                 8    I 2002)). Plaintiff's unfair competition claim under §17200 relies on the same
                 9    "trademark and trade dress infringement"(Compl. ¶ 43) as its Lanham Act claim.
                 10   Where a federal court's subject matter jurisdiction over a Lanham Act claim is

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    0            11   found inadequate, the derivative state law claims should be dismissed as well. See
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  ~~             12   Love, 611 F.3d at 613-14 (affirming that § 17200 claim "could not survive if the
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a ~ °'           13   Lanham Act and publicity claims failed"); Pinkbe~~y, 2011 WL 6101828, at *8.
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      J N        14   V.     THE COMPLAINT FAILS TO STATE A CLAIM UNDER THE
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         a       15           COPYRIGHT ACT OR UNDER ~ 17200
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                 16           The Complaint fails to state a claim under the Copyright Act or under
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                 17   §17200. The Complaint does not allege any conduct falling within the limited
                 18   territorial scope ofthe Copyright Act, nor within the even more limited territorial
                 19   reach of California's §17200. Plaintiff has done little more than recite the
                 20   elements of a claim and has failed to allege infringement within the United States.
                 21           A.     Dismissal Standard For Failure To State A Claim
                 22           For a complaint to survive Rule 12(b)(6), it must set forth "sufficient factual
                 23    matter" to state "a claim to relief that is plausible on its face." Ashcroft v. Igbal,
                 24   556 U.S. 662, 678, 129 S. Ct. 1937, 1949(2009)(quoting Bell Atlantic Copp. v.
                 25    Twombly, 550 U.S. 554, 570, 127 S. Ct. 1955, 1974 (2007)). To satisfy this
                 26    standard, a plaintiff must allege "factual content that allows the court to draw the
                 27   reasonable inference that the defendant is liable for the misconduct alleged."
                 28   Igbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 556). A complaint does not

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              1   state a plausible claim to relief by merely offering a "formulaic recitation ofthe
             2    elements of a cause of action," or by malting "naked assertions devoid of further
              3   factual enhancement." Igbal, 556 U.S. at 678 (internal quotations omitted).
             4    "Threadbare recitals of the elements of a cause of action, supported by mere
              5   conclusory statements, do not suffice." Igbal, 556 U.S. at 678 (citing Twombly,
             6    550 U.S. at 555). If the face of a pleading does not state a plausible claim, it
              7   should be "exposed at the point of minimum expenditure of time and money by the
              8   parties and the court." Twombly, 550 U.S. at 558.
             9          B.     The Complaint Fails to Allele a Claim of Copyright Infringement.
             10         A claim of Copyright Infringement should be dismissed where it fails to

     0       11   allege an act of infringement within the United States. See Los Angeles News Serv.
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  ~~         12   v. Reuters Tel. Intl Ltd., 340 F.3d 926, 931 (9th Cir. 2003); Subafilms, Ltd. v.
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     °'      13   MGM-Pathe Comms. Co., 24 F.3d 1088, 1099(9th Cir. 1994)("[A]cts of
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             14   infringement that are not cognizable under the United States copyright laws
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         a   15   because they occur entirely outside of the United States do[] not state a claim for
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             16   infringement under the Copyright Act."). Indeed, it is an "undisputed axiom that
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             17   the United States' copyright laws have no application to extraterritorial
             18   infringement." Subafilms, 24 F.3d at 1095 (citing 3 David Nimmer &Melville B.
             19   Nimmer, Nimmer on Copyright § 12.04(a)(3)(b), at 12-86).
             20         The Complaint, which limits its copyright claim to the alleged infringement
             21   of one infomercial(Compl. ¶ 28), makes no allegations of any infringement within
             22   the borders of the United States. Plaintiff's only factual allegations reference "the
             23   display of advertising and Homeland infomercials on the Internet accessible in this
             24   Judicial District" and allege that "JML has modified Homeland's MAGIC
             25   BULLET infomercial by including JML's own logo and its JMLDIRECT.com web
             26   site in the video." (Compl. ~ 9.) Plaintiff does not explain how this website, which
             27   only services British and Irish customers, only accepts payment in Pounds Sterling
             28   and Euros, and only accepts orders to addresses within the U.K. or Ireland, is

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                1       plausibly connected to the United States. (Decl. ¶ 5.)
               2              In fact, the Complaint repeatedly emphasizes JML's exclusively European
                3       territory, noting its address in London (Compl. ¶ 2); that"JML is a marketing and
               4        distribution company in England"(Compl. ¶ 6); that "JML was given the
               5        opportunity to market and distribute a segment ofthe MAGIC BULLET line of
               6        products in parts of Europe"(Compl. ~ 6); that "Homeland's management agreed
               7        to enter into a Distribution Agreement with JML for selected MAGIC BULLET
               8        lines within a limited territory in Europe"(Compl. ¶ 6); and that "Homeland
               9        provided JML with its infomercials for use by JML to advertise and promote the
               10       BULLET products in JML's territory in parts of Europe"(Compl. ¶ 14).
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  0            11             Plaintiff's unrelated allegations that JML has used "American
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  W            12   I, telecommunications to promote such infringing sales" are far too remote to make
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a Qo           13       out a colorable claim of copyright infringement in the United States and, more
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     Q J N     14       importantly, far too vague to meet the pleading standards ofthis jurisdiction.
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w ~ ~,         15             JML's television networks cannot be legitimately accessed outside ofthe
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     m         16       United Kingdom and that it has never brought or displayed any Magic Bullet items
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               17       or paraphernalia when attending trade shows in the United States. (Decl. ¶ 4, 8.)
               18             C.     The Complaint Fails to Allege a Claim of Unfair Competition
               19                    Under Cal. Bus. &Prof. Code ~ 17200.
               20             The extraterritorial nature of JML's trade in the Magic Bullet blenders
               21   ~ prevents Plaintifffrom stating a claim under §17200. California's unfair
               22       competition remedy is inapplicable to conduct by a nonresident defendant
               23       occurring outside California. See Fontenbe~~y v. MV T~ansp., Inc., No. 12-cv-
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               24       01996 TLN-EFB, 2013 WL 6182587, at *3 (E.D. Cal. Nov. 25, 2013)("[T]he
               25       UCL reaches any unlawful business act or practice committed in California"
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               26       (emphasis in original).); McKinnon v. DollaN Thrifty Auto. Gip., Inc., No. 12-4457
               27       SC,2013 WL 791457, at *4-6(N.D. Cal. Mar. 4, 2013)(holding that the § 17200
               ►:       "cannot" apply to out-of-state activity regardless ofthe California residency of

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                  1   plaintiffs).
                 2           Plaintiff has failed to allege any conduct amounting to trademark
                  3   infringement within the borders of the United States, let alone California. Further,
                 4    "state common law claims of unfair competition and actions pursuant to California
                 5    Business and Professions Code § 17200 are substantially congruent to claims made I,
                 6    under the Lanham Act." Denbica~e U.S.A., Inc. v. Toys "R" Us, Inc., 84 F.3d                I,
                 7    1143, 1152(9th Cir.1996), abrogated in past by Ki~tsaeng v. John Wiley &Sons,              ~',
                 8    Inc., 133 S. Ct. 1351 (2013); see also Aurora World, Inc. v. Ty Inc., 719 F. Supp.
                 9    2d 1115, 1165-66(C.D. Cal. 2009); E.S.S. EnteNtainment 2000, Inc. v. Rock Stagy
                 10   Videos, Inc., 444 F. Supp. 2d 1012, 1049(C.D. Cal. 2006). Because dismissal of

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                 11   the Lanham Act claims is proper, the Court should also dismiss the pendant                 ',
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 ~~              12   California state law claim.
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     ~~          13   VI.    CONCLUSION
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             N   14          Plaintiff has filed this lawsuit in a grossly inconvenient and inappropriate
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w                15   forum,justifying dismissal ofthe case on the grounds offorum non conveniens;
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                 16   Plaintiff has failed to establish subject matter jurisdiction for the claim which it has
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                 17   tried to plead under the Lanham Act and under the related California statute; and
                 18   Plaintiff has failed to state a cause of action under the Copyright Act and under
                 19   Cal. Bus. &Prof. Code §17200. Consequently, JML respectfully requests that the
                 20   Complaint be dismissed in its entirety without leave to amend.
                 21

                 22
                      Dated: March 11, 2014                   VENABLE LLP
                 23

                 24                                           By: /s/ Gregory J. Sater
                 25
                                                                   Gregory J. Sater, Esq.
                                                              Attorneys for Defendant
                 26                                           JOHN MILLS,LTD.
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